Case 18-02784-5-JNC         Doc 20 Filed 08/30/18 Entered 08/30/18 13:59:09              Page 1 of 1

 SO ORDERED.
 SIGNED this 30 day of August, 2018.




                                               _____________________________________________
                                                Joseph N. Callaway
                                                United States Bankruptcy Judge


 ___________________________________________________________________




                           UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF NORTH CAROLINA
                                 GREENVILLE DIVISION

 IN RE:
 WAYNE THOMAS JOYNER                                   CASE NO.: 18-02784-5-JNC
                  DEBTOR(S)                            CHAPTER 7
        DEBTOR(S)

              ORDER ALLOWING DEBTORS’ MOTION TO DISMISS PETITION

        THIS MATTER COMING, upon debtor’s Motion to Dismiss Petition dated August 1,

 2018; and it appearing to the Court that all interested parties were properly noticed; and the

 Court is of the opinion that the Debtor’s Motion to Dismiss Petition should be granted, for good

 cause shown, therefore, it is;

        ORDERED that the Debtors’ Motion to Dismiss Petition is hereby granted; and Further

 Ordered that the Debtor’s Chapter 7 case is dismissed without prejudice.

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